Case 1:17-cr-00101-LEK Document 200 Filed 04/12/18 Page 1 of 1          PageID #: 1699



                                    MINUTES



 CASE NUMBER:           1:17-CR-00101-LEK
 CASE NAME:             United States of America v (01) Anthony T. Williams


      JUDGE:      Kenneth J. Mansfield          REPORTER:

      DATE:       04/12/2018                    TIME:


COURT ACTION: EO:

On April 5, 2018 Defendant filed an [171] Amended Second Motion for Order to Show
Cause and Request for Expedited Hearing which supersedes [167] Second Motion for
Order to Show Cause and Request for Expedited Hearing which was then
TERMINATED.

On April 10, 2018 Defendant filed an [196] Amended Third Motion for Order to Show
Cause and Request for Expedited Hearing which supersedes [195] Third Motion for
Order to Show Cause and Request for Expedited Hearing and therefore [195]
Motion is TERMINATED.

As previously set forth in the [194] Entering Order, [196] Amended Third Motion for
Order to Show Cause and Request for Expedited Hearing, this matter will be decided
without a hearing.

Opposition due by 04/23/2018
Response due by 04/30/2018




Submitted by: Bernie Aurio, Courtroom Manager
